                                                                                 Case 2:17-cv-01860-JCM-CWH Document 12 Filed 08/03/17 Page 1 of 3




                                                                             1   J. BRUCE ALVERSON, ESQ.
                                                                                 Nevada Bar No. 1339
                                                                             2   KARIE N. WILSON, ESQ.
                                                                                 Nevada Bar No. 7957
                                                                             3   ALVERSON TAYLOR
                                                                                 MORTENSEN & SANDERS
                                                                             4   6605 Grand Montecito Pkwy, Ste. 200
                                                                                 Las Vegas, NV 89149
                                                                             5   702-384-7000 Phone
                                                                                 702-385-7000 Fax
                                                                             6   Attorneys for Defendants

                                                                             7                               UNITED STATES DISTRICT COURT

                                                                             8                                FOR THE DISTRICT OF NEVADA

                                                                             9   JIMMY PETERSON, individually, and as                 CASE NO: 2:17-cv-01860-JCM-CWH
ALVERSON, TAYLOR, MORTENSEN & SANDERS




                                                                                 Guardian ad Litem for CHARLOTTE-MARIE-
                                                                            10   SMITH-PETERSON, a minor,                             STIPULATION AND (PROPOSED)
                                                                                                                                      ORDER TO REMAND TO NEVADA
                                                                            11                                Plaintiffs,             STATE COURT
                                        6605 GRAND MONTECITO PKWY STE 200




                                                                            12   v.
                                                LAS VEGAS, NV 89149




                                                                                 TELICIA DA’SHANEE HALL, an individual;
                                                    (702) 384-7000




                                                                            13
                                                      LAWYERS




                                                                                 NEW PRIME, INC., a Foreign Corporation; and
                                                                            14   DOES I through X, inclusive

                                                                            15                           Defendants.
                                                                                 __________________________________________
                                                                            16

                                                                            17          IT IS HEREBY STIPULATED AND AGREED by and between Plaintiffs, JIMMY

                                                                            18   DEAN PETERSON, individually, and as Guardian ad Litem for CHARLOTTE-MARIE

                                                                            19   SMITH-PETERSON, and Defendant NEW PRIME, INC., by and through their respective

                                                                            20   counsel of record that this matter be remanded to the Eighth Judicial District Court for Clark

                                                                            21   County, Nevada. This stipulation is based upon representations and assurances by Plaintiffs that

                                                                            22   their alleged damages and injuries do not meet the $75,000.00 jurisdictional minimum for

                                                                            23   removal to federal court.

                                                                            24   ...
                                                                                                                                                                          KNW 24900
                                                                                                                                1
                                                                                 Case 2:17-cv-01860-JCM-CWH Document 12 Filed 08/03/17 Page 2 of 3




                                                                             1          IT IS FURTHER STIPULATED AND AGREED that once remanded to the Eighth

                                                                             2   Judicial District Court for Clark County, Nevada, Plaintiffs will not seek to remove the case from

                                                                             3   the Nevada Mandatory Arbitration Program, which provides a limit on damages of $50,000.00.

                                                                             4          By entering into this stipulation, Defendant New Prime, Inc. neither acknowledges nor

                                                                             5   concedes any liability with respect to any claims brought by Plaintiffs in their Complaint,

                                                                             6   whether original or as may be amended.

                                                                             7   Dated this 3rd day of August, 2017.                 Dated this 3rd day of August, 2017.

                                                                             8   ALVERSON, TAYLOR                                    LAW OFFICES OF STEVEN M. BURRIS
                                                                                 MORTENSEN & SANDERS
                                                                             9
ALVERSON, TAYLOR, MORTENSEN & SANDERS




                                                                                 ___________________________________                 _/s/ Steven M. Burris___________________
                                                                            10   J. BRUCE ALVERSON, ESQ.                             STEVEN M. BURRIS, ESQ.
                                                                                 Nevada Bar No. 1339                                 Nevada Bar No. 000603
                                                                            11   KARIE N. WILSON, ESQ.                               SAMUEL B. BENHAM, ESQ.
                                        6605 GRAND MONTECITO PKWY STE 200




                                                                                 Nevada Bar No. 7957                                 Nevada Bar No. 003677
                                                                            12   6605 Grand Montecito Pkwy, Ste. 200                 2810 W. Charleston Boulevard, Suite F-58
                                                LAS VEGAS, NV 89149




                                                                                 Las Vegas, NV 89149                                 Las Vegas, Nevada 89102
                                                    (702) 384-7000




                                                                            13   702-384-7000 Phone                                  Attorneys for Plaintiffs
                                                      LAWYERS




                                                                                 702-385-7000 Fax
                                                                            14   Attorneys for Defendants

                                                                            15

                                                                            16

                                                                            17

                                                                            18

                                                                            19

                                                                            20

                                                                            21

                                                                            22

                                                                            23

                                                                            24
                                                                                                                                                                            KNW 24900
                                                                                                                                 2
                                                                                 Case 2:17-cv-01860-JCM-CWH Document 12 Filed 08/03/17 Page 3 of 3




                                                                             1                                                                         Peterson v. New Prime, Inc., et.al.
                                                                                                                                                     Case No. 2:17-cv-01860-JCM-CWH
                                                                             2

                                                                             3                                           (PROPOSED) ORDER TO REMAND

                                                                             4             IT IS HEREBY ORDERED that this case be remanded to the Eighth Judicial District

                                                                             5   Court for the County of Clark, State of Nevada, Case No. A-17-756486-C.

                                                                             6             DATED this _____ day of _______________ 2017.

                                                                             7
                                                                                                                                         ___________________________________
                                                                             8                                                           U.S. DISTRICT COURT JUDGE

                                                                             9   Respectfully submitted by:
ALVERSON, TAYLOR, MORTENSEN & SANDERS




                                                                            10   ALVERSON, TAYLOR
                                                                                 MORTENSEN & SANDERS
                                                                            11
                                        6605 GRAND MONTECITO PKWY STE 200




                                                                                 ____________________________________
                                                                            12   J. BRUCE ALVERSON, ESQ.
                                                LAS VEGAS, NV 89149




                                                                                 Nevada Bar No. 1339
                                                    (702) 384-7000




                                                                            13   KARIE N. WILSON, ESQ.
                                                      LAWYERS




                                                                                 Nevada Bar No. 7957
                                                                            14   6605 Grand Montecito Pkwy, Ste. 200
                                                                                 Las Vegas, NV 89149
                                                                            15   702-384-7000 Phone
                                                                                 702-385-7000 Fax
                                                                            16   Attorneys for Defendants
                                                                                 n:\bruce.grp\z-client\24900\pleadings\sao remand.docx

                                                                            17

                                                                            18

                                                                            19

                                                                            20

                                                                            21

                                                                            22

                                                                            23

                                                                            24
                                                                                                                                                                                   KNW 24900
                                                                                                                                           3
